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                                    UNITED STATES BANKRUPTCY COURT
                                     EASTERN DISTRICT OF MICHIGAN
                                      SOUTHERN DIVISION - DETROIT

             In the matter of:
             JOSEPH G. DUMOUCHELLE, and                              Bankruptcy Petition No. 19-54531
             MELINDA J. ADDUCCI,                                                Hon. Lisa S. Gretchko
                               Debtor(s)                                                     Chapter 7


             TEODOR GELOV,                                                       Adv. Pro. No. 20-04172
                           Plaintiff,                                             Hon. Lisa S. Gretchko
             v.
             JOSEPH G. DUMOUCHELLE, and
             MELINDA J. ADDUCCI,
                           Defendant(s)



              DEFENDANTS’ RESPONSE TO PLAINTIFF’S DISCOVERY REQUESTS

                     NOW COME the Defendant, MELINDA J. ADDUCCI (“Melinda”)

             (together with Joe DuMouchelle (“Joe”), collectively “Defendants”), by and

             through her counsel, JOHN R. FOLEY, P.C., who, in response to the Discovery

             Requests propounded by the Plaintiff, TEODOR GELOV, hereby state as follows:

                                             PRIVILEDGE / OBJECTIONS

                     Joe and Melinda are both the subject of actual or potential criminal

             proceedings.

                     Melinda has sought assurances, through her counsel, repeatedly, that she is

             not being pursued for prosecution. Melinda asserts her Fifth Amendment Privilege,

             and does not waive the same by answering these requests. Further, with respect to

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             any request that may call for documents or communication between her and Joe

             (her husband), Melinda asserts Marital/Spousal Privilege, and with respect to any

             requests that may call for documents or communications between she and her

             attorney, Melinda asserts Attorney-Client Privilege. However, in an effort to be

             responsive, to move this case along, and to show that she did not participate in any

             fraudulent conduct as alleged, Melinda has provided responsive answers. These

             responses are provided without wavier of her Fifth Amendment Privilege, her

             Attorney-Client Privilege, or her Marital/Spousal Privilege. and specific

             preservation of the same.

                                                   INTERROGATORIES

                     1.       Provide the names of all current and prior members and officers

             (including their titles) of DuMouchelle Jewellers, the date of admission of each

             member and the term of each officership.

                          a. Melinda Response: Joe was always a 90% member and I was a 10%

                              member. Joe served as President. Melinda served as VP. I do not

                              recall what date this was established on.



                     2.       Provide a description of each expenditure, transfer and/or withdrawal

             made (including the name and address of the recipient, the amount paid to such




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             recipient and the assets received or the liability paid in exchange therefor), utilizing

             the proceeds received from Plaintiff with respect to the $1,800,000 Note.

                          a. Melinda Response: I have no knowledge of these things. All funds

                              would have gone in and out the bank account, and those statements,

                              which can be obtained from the business case trustee, provide this

                              information.



                     3.       For each of the expenditures, transfers and/or withdrawals identified

             in your response to Interrogatory No. 2, identify which of Defendants initiated,

             caused, signed for or otherwise participated in each and which Defendants had

             contemporaneous and/or after the fact knowledge of each.

                          a. Melinda Response: All funds would have gone in and out the bank

                              account, and those statements, which can be obtained from the

                              business case trustee, provide this information. Further, I have

                              attached hereto the copies of the counter-checks that were issued to

                              certain clients/customers/vendors following the referenced deposit.



                     4.       As to each of the items of jewelry set forth on Exhibit A to the

             $1,800,000 Note, identify: (a) the owner (including name and address) of each item

             of jewelry on the date the $1,800,000 Note was executed; (b) the date each item of


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             jewelry was purchased by either of Defendants or its Affiliates and the amount

             paid; (c) the date each item of jewelry was sold by either of Defendants or its

             Affiliates, the amount received and the purchaser of each; and (e) the disposition

             made of the proceeds received from each item of jewelry sold (including the bank

             name and account number into which the proceeds were deposited and disbursed).

                          a. Melinda Response: I did negotiate or have knowledge of any of the

                              purchases you describe in your request. I never saw the list you attach

                              as Exhibit A until you attached it to your complaint, because I did not

                              receive and did not sign the Note you are referring to.



                     5.       Explain the roles each Defendant played in each of the actions set

             forth in Interrogatory No. 4. and which Defendants had contemporaneous and/or

             after the fact knowledge of each action.

                          a. Melinda Response: I did not negotiate or have knowledge of any of

                              the purchases you describe in your request. I never saw the list you

                              attach as Exhibit A until you attached it to your complaint, because I

                              did not receive and did not sign the Note you are referring to.



                     6.       State who compiled and who typed the list of 16 items attached to the

             $1,800,000 Note.


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                          a. Melinda Response: I did not type or compile the list you are talking

                              about. I did not negotiate or have knowledge of any of the purchases

                              you describe in your request. I never saw the list you attach as Exhibit

                              A until you attached it to your complaint, because I did not receive

                              and did not sign the Note you are referring to.



                     7.       State who compiled the photos contained in the October 31, 2018

             email from Joseph DuMouchelle attached to Plaintiff’s Amended Complaint and

             the source of each of the photos.

                          a. Melinda Response: I do not know, but it was not me.



                     8.       Identify the current location of all computers and servers used by

             Defendants or their Affiliates during the years 2016-2022 and if no longer in

             Defendants’ or their Affiliates’ possession, the disposition made of each, the date

             of disposition and the method of disposition.

                          a. General Response: A motion for protective order has been filed

                              regarding this request.

                          b. Melinda Response: Melinda objects to the extent this request calls for

                              or implies that Plaintiff has any right to any computer of the after

                              2019, or which does not contain any information related to this case,


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                               or which contains privileged materials.



                      9.       Provide all valid usernames and corresponding passwords to all

             cloud-based systems used by Defendants or their Affiliates during the years 2016-

             2022, including QuickBooks, RMC, RFC, and ACT.

                            a. General Response: A motion for protective order has been filed

                               regarding this request.

                            b. Melinda Response: Melinda objects to the extent this request calls for

                               or implies that Plaintiff has any right to any login information for my

                               private account after March 2019, or which does not contain any

                               information related to this case, or which contains privileged

                               materials. Subject to and without waiving that objection, Melinda

                               states: I do not have the passwords for any “cloud-based systems used

                               by Defendants or their Affiliates during the years 2016-2019,

                               including QuickBooks, RMC, RFC, and ACT.” No such “cloud based

                               systems” such as “QuickBooks, RMC, RFC, and ACT” were used by

                               me after Joe’s arrest in 2019.



                      10.      Identify all documents upon which you will rely upon at the time of

             trial.



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                           a. Melinda Response: All such documents are in possession of the

                              bankruptcy trustees of the two (2) bankruptcy cases (our personal case

                              and the business case), or the FBI. My attorney will need to obtain

                              these through discovery. I intend to use any documents attached to

                              pleadings in this case, (which are all accessible via CM/ECF), and/or

                              any produced during initial disclosures, and/or any produced in

                              response to these discovery requests (which I have attached), or later,

                              if I locate any further responsive or relevant documents or obtain any

                              such documents via discovery.



                     11.      Identify all communications (name of person, whether by email, text

             or phone and the substance of each communication) between either of Defendants

             and Plaintiff, related to or touching upon the transactions by and between either of

             Defendants and Plaintiff, for the period of January 1, 2018 through December 31,

             2019, including all correspondence, emails, email attachments, phone discussions

             and text messages.

                           a. Melinda Response: Melinda objections to this request as Overly

                              broad, Vague, Ambiguous, and unduly burdensome as it is not limited

                              in time scope. Subject to and without waiving her objections, Melinda

                              states: None that I can recall or currently have in my possession.



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                     12.      Identify all communications (name of person, whether by email, text

             or phone and the substance of each communication) between either of Defendants

             and any family members of Defendants (including children, in-laws, sisters,

             brothers and parents) related to or touching upon the transactions by and between

             either of Defendants and Plaintiff, for the period of January 1, 2018 through

             today’s date.

                           a. Melinda Response: Melinda objections to this request as Overly

                              broad, Vague, Ambiguous, and unduly burdensome as it is not limited

                              in time scope, and not reasonably calculated to lead to the discovery

                              of admissible or relevant evidence in this case. Subject to and without

                              waiving her objections, Melinda states: None that I can recall or

                              currently have in my possession. Except that I remember this: The

                              first call I received was from Jessica Gelov Lynch, my nephew Kevin

                              Lynch’s wife. She called me when I was also at home on Sanibel. She

                              asked me what was going on. I said I don’t know what you’re

                              referring to? She said “ok- I’m going to just call Joe”. I don’t

                              remember whether or not I asked Joe about this. Then I received a call

                              from my niece, Lauren Lynch, who worked in our office full time. I

                              was on Sanibel, and she said she thought something was terribly


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                              wrong with Joe. She called my daughter and son (Shannon and Joey

                              Adducci) and they all got on the phone. I don’t remember the time

                              delay in between the calls. Joe’s Dad was dying in the middle of this

                              all. Jessica and Kevin Lynch were at the funeral. William Noble was

                              messing with Joe’s head and said he might come to the funeral and

                              Joe told him that was not a good idea. That completely confused me.



                     13.      Identify the exact location, description and value of all assets of

             Defendants or their Affiliates and/or of DuMouchelle Jewellers not within the

             custody of the trustees in Defendants’ or DuMouchelle Jewellers bankruptcy cases,

             in existence as of the date of filing of Defendants’ and DuMouchelle Jewellers’

             bankruptcy proceedings, including all cash, certificates of deposit, jewelry, gems,

             gemstones, real property, personal property, stocks, bonds, mutual funds, cash,

             debit cards, crypto currencies, gift cards, and/or other cash equivalents and safety

             deposit boxes and safes.

                           a. Melinda Response: All of my assets, and I believe all of those of Joe

                              as well, and of the company (DuMouchelle Jewellers) were laid out in

                              the bankruptcy case schedules and statements. Some were taken as

                              non-exempt by the trustees of the 2 cases. All of the business assets

                              were taken by the trustee in that case. I believe all real property was


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                              sold. I currently have minimal personal property that I own, including

                              miscellaneous items of clothing, costume jewelry, and the standard

                              household items like furnishing and kitchen wares, at the home where

                              I live, which were either exempt in our personal bankruptcy case, or

                              which we settled with the Trustee to allow us (now just me) to have,

                              or which I have acquired since the bankruptcy filing, from my own

                              earning.



                     14.      Identify the persons funding Defendants’ defense of this litigation.

                           a. General Response: A motion for protective order has been filed

                              regarding this request.

                           b. Melinda Response: Melinda objects to this request as it does not

                              request information that is in any way relevant to the elements of the

                              cause(s) of action asserted by Plaintiff and is not reasonably

                              calculated to lead to the discovery of relevant or admissible evidence.

                              For these reasons, it is also unduly burdensome and harassing.

                              Specifically, Melinda also objects to providing the name(s) of the

                              person(s) who gifted/lent Defendants the funds to pay the retain to

                              their lawyer for the reason that Plaintiff, Ted Gelov, has threatened

                              members of Defendants’ family that he would “come after them” if


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                              they help the Defendants. Subject to and without waiving that

                              objection, Melinda states: my lawyers were paid a $10,000 retainer,

                              comprised of two (2) $5,000 payments, one in July and one in

                              December of 2020, which were funded through money lent or given to

                              us by third-parties. They have been paid no additional money from

                              any sources, and they are owed in excess of $300,000.00 in legal fees.

                                                REQUESTS TO PRODUCE

                     1.       Produce the Operating Agreement and all amendments to the same of

             DuMouchelle Jewellers.

                              a. Melinda Response: Any such documents would currently be in

                                  the possession of the Trustee of the bankruptcy case of that entity.

                     2.       Produce all documents referenced in the “briefcase” of documents

             Defendant Joseph intended to share with his criminal counsel, but never reviewed,

             alleged to have existed in the filings may by Joseph in his criminal proceeding.

                              a. Melinda Response: Melinda states: I do not know anything about

                                  this.

                     3.       Produce the signature cards to the Chase Account ending in 0024 held

             by or for the benefit of either or both Defendants or DuMouchelle Jewellers.

                              a. Melinda Response: Any such documents would currently be in

                                  the possession of the Trustee of the bankruptcy case, or of Chase


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                                  Bank. I do not have them.

                     4.       Produce all documents you intend to rely upon at the time of trial.

                              a. Melinda Response: All such documents are in possession of the

                                  bankruptcy trustees of the two (2) bankruptcy cases (our personal

                                  case and the business case), or the FBI. My attorney will need to

                                  obtain these through discovery. I intend to use any documents

                                  attached to pleadings in this case, (which are all accessible via

                                  CM/ECF), and any produced during initial disclosures, and any

                                  produced in response to these discovery requests, or later, if I

                                  locate any further responsive documents or documents relevant to

                                  my defense or obtain any such documents via discovery.



                     5.       Produce all communications in Defendant’s possession between

             Plaintiff and either of Defendants.

                              a. Melinda Response: Melinda objects to this request as overly

                                  broad and unduly burdensome as it is not limited in scope of time,

                                  nor reasonably calculated to lead to the discovery of admissible or

                                  relevant, non-privileged, evidence. However, subject to and

                                  without waiving her objections, Melinda states: To the best of my

                                  current knowledge and recollection, I have never communicated



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                                  with Ted Gelov, and I have no such documents in my possession,

                                  custody or control.

                     6.       Produce all documents referenced or relied upon in preparing your

             responses to the Interrogatories.

                              a. Melinda Response: Melinda asserts Attorney-Client Privilege and

                                  Marital/Spousal Privilege to the extent that any communication

                                  between her and her attorney, or her and her husband, could be

                                  deemed to have been “relied on” in preparation of these responses.

                                  Subject to and without waiving those privileges, Melinda states:

                                  All relevant business documents were taken by the Trustee of the

                                  Business Case. The minimal documents I do have, to the extent

                                  responsive hereto, or relevant to this case (and to the extent not yet

                                  obtained from other third parties), I have produced either in my

                                  initial disclosures, or attached to pleadings in this case, or I have

                                  attached them to these responses.



                     7.       Produce all computers and computer servers utilized or accessed by

             either of Defendants or their employees during the period 2016-2022, including

             those owned personally and those of DuMouchelle Jewellers.




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                              a. General Response: A motion for protective order has been filed

                                  regarding this request.

                              b. Melinda Response: Melinda objects to this request to the extent

                                  that it requests computers used after March 2019, which is when

                                  all of the events that comprise the factual allegations of Plaintiff’s

                                  complaint were done, and Plaintiff had commenced litigation in

                                  state court against Defendants. Melinda asserts Attorney-Client

                                  Privilege to the extent that any computers from thereafter do or

                                  may contain privileged communication. Subject to and without

                                  waiving her objections, Melinda responds as follows: Any and all

                                  computers relevant to the time period of the facts in Plaintiff’s

                                  Complaint, which ends when Plaintiff sued in State Court on

                                  March 2019, are in the possession of either the government, the

                                  business case trustee, or the personal bankruptcy chapter 7 trustee.


                                                      VERIFICATION

             By signing below, I swear and affirm that the foregoing responses to discovery
             are true and accurate to the best of my knowledge, information, and belief.

                                                                         

                     Melinda ADDUCCI                                           Date
                     as to her answers/responses only.




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                                                                Respectfully submitted,
                                                                JOHN R. FOLEY, P.C.
                                                                Counsel for Defendants


                                                                By: /s/Patrick A. Foley
                                                                Patrick A. Foley (P74323)
                                                                18572 W. Outer Drive
                                                                Dearborn, MI 48128
                                                                Phone: (313) 274-7377
                                                                Email: pafoley@jrfpc.net
                     Dated: March 16, 2023




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                                    UNITED STATES BANKRUPTCY COURT
                                     EASTERN DISTRICT OF MICHIGAN
                                      SOUTHERN DIVISION - DETROIT

             In the matter of:
             JOSEPH G. DUMOUCHELLE, and                              Bankruptcy Petition No. 19-54531
             MELINDA J. ADDUCCI,                                                Hon. Lisa S. Gretchko
                               Debtor(s)                                                     Chapter 7


             TEODOR GELOV,                                                       Adv. Pro. No. 20-04172
                           Plaintiff,                                             Hon. Lisa S. Gretchko
             v.
             JOSEPH G. DUMOUCHELLE, and
             MELINDA J. ADDUCCI,
                           Defendant(s)


                                                    PROOF OF SERVICE

                   Patrick A. Foley hereby certifies that on March 16, 2023 he did serve a copy
             of the foregoing discovery responses, upon counsel for the Plaintiff, TEODOR
             GELOV by emailing a copy of the same, via the Court’s CM/ECF e-Filing System
             to:
                   Attorney Jay L. Welford - Email: jwelford@jaffelaw.com


                                                                Respectfully submitted,
                                                                JOHN R. FOLEY, P.C.
                                                                Counsel for Defendants

                                                                By: /s/Patrick A. Foley
                                                                Patrick A. Foley (P74323)
                                                                18572 W. Outer Drive
                                                                Dearborn, MI 48128
                                                                Phone: (313) 274-7377
                                                                Email: pafoley@jrfpc.net
                     Dated: March 16, 2023




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